                   Case 5:14-cv-00665-F Document 586-2 Filed 01/13/22 Page 1 of 2



From:                              Stronski, James <JStronski@crowell.com>
Sent:                              Thursday, January 13, 2022 12:23 PM
To:                                Mithun Mansinghani
Cc:                                Bryan Cleveland; Andy Ferguson; Zach West; Cohen, Harry; Robles, Michael; Walker,
                                   Kenton; Emma Rolls
Subject:                           [EXTERNAL] RE: IV Team Leader


Mithun,

Thanks for your note. We plan to take this one step at a time. We appreciate your offer to provide a deposition on
written questions from the current IV Team Leader (using the same questions previously posed) and look forward to
receiving it. But given the unfortunate turn of events with “Pat Doe,” we thought it would be prudent to reserve the
right to seek additional relief, if necessary, after we have a chance to review the new statement. We hope and expect
that will not be necessary.

Regards,

Jim


~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ ~ James K. Stronski | Crowell & Moring LLP Partner
590 Madison Avenue
New York, NY 10022-2524
Office: 212-895-4217 | Fax: 212-223-4134 Privileged and Confidential Attorney-Client Communication Attorney Work
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-----Original Message-----
From: Mithun Mansinghani <mithun.mansinghani@oag.ok.gov>
Sent: Wednesday, January 12, 2022 6:29 PM
To: Stronski, James <JStronski@crowell.com>
Cc: Bryan Cleveland <bryan.cleveland@oag.ok.gov>; Andy Ferguson <andy.ferguson@oag.ok.gov>; Zach West
<zach.west@oag.ok.gov>; Cohen, Harry <HCohen@crowell.com>; Robles, Michael <MRobles@crowell.com>; Walker,
Kenton <KentWalker@crowell.com>; Emma Rolls <emma_rolls@fd.org>
Subject: RE: IV Team Leader

External Email


Jim: I take by your request that you're accepting our offer of a declaration in lieu of an oral deposition of the IV Team
Leader?

Mithun

-----Original Message-----
From: Stronski, James <JStronski@crowell.com>
Sent: Wednesday, January 12, 2022 4:11 PM

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                  Case 5:14-cv-00665-F Document 586-2 Filed 01/13/22 Page 2 of 2
To: Mithun Mansinghani <mithun.mansinghani@oag.ok.gov>
Cc: Bryan Cleveland <bryan.cleveland@oag.ok.gov>; Andy Ferguson <andy.ferguson@oag.ok.gov>; Zach West
<zach.west@oag.ok.gov>; Cohen, Harry <HCohen@crowell.com>; Robles, Michael <mrobles@crowell.com>; Walker,
Kenton <KentWalker@crowell.com>; Emma Rolls <emma_rolls@fd.org>
Subject: [EXTERNAL] Re: IV Team Leader

Mithun,

We filed a notice so that the Court would be apprised of the status of the declaration in the record. Please advise when
you will be able to provide the promised declaration of the IVTeam Leader.

Regards

Jim

Sent from my iPhone

On Jan 11, 2022, at 6:23 PM, Mithun Mansinghani <mithun.mansinghani@oag.ok.gov> wrote:

 External Email

Jim: After Mr. Farris’s testimony yesterday, you asked whether ODOC’s current IV Team Leader was the same person
that signed the John Doe declaration last January. Upon further inquiry, I learned today that that in fact the current IV
Team Leader (who served during the John Grant and Stouffer executions, and plans on serving for all foreseeable
executions) is in fact not the same individual as the person who signed the John Doe declaration last January.

Mithun Mansinghani
Solicitor General

Oklahoma Office of the Attorney General
313 NE 21st Street, Oklahoma City, OK 73105
(405) 522-4392 | Mithun.Mansinghani@oag.ok.gov<mailto:Mithun.Mansinghani@oag.ok.gov>




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